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12
                                 UNITED STATES DISTRICT COURT
13                      CENTRAL DISTRICT OF CALIFORNIA, WESTERN D IVISION

14
     JENNY LISETTE FLORES, et al.,                     )   Case No. CV 85-4544 DMG (AGRx)
15                                                     )
              Plaintiffs,                              )
16   - vs -                                            )   [REDACTED] EXHIBITS IN
17                                                     )   SUPPORT OF PLAINTIFFS’
     JEFFERSON B. SESSIONS, ATTORNEY GENERAL           )
18   OF THE UNITED STATES, et al.,                     )   RESPONSE TO DEFENDANTS’
                                                       )   FIRST JUVENILE COORDINATOR
19            Defendants.                              )   REPORTS VOLUME 12 OF 12
20
                                                       )   [FILED UNDER SEAL PURSUANT
                                                           TO ORDER OF THE COURT
21                                                         DATED JULY 16, 2018]
22
                                                           [HON. DOLLY M. GEE]
23
                                                           Hearing: July 27, 2018
24                                                         Time: 10 AM
25

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1    Plaintiffs’ counsel, continued

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                           Exhibit 216
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                           Exhibit 221
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                           Exhibit 223
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                           Exhibit 226
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                                                                                  1
                          UNITED STATES DISTRICT COURT
                    FOR THE CENTRAL DISTRICT OF CALIFORNIA

             JENNY LISETTE FLORES,      )
             et al.,                    )
                                        )
                                        )
                          Plaintiffs,   )
             VS.                        ) Case No. CV 85-4544 DMG
                                        )
                                        )
             LORETTA E. LYNCH,          )
             Attorney General of the    )
             United States, et al.,     )
                                        )
                                        )
                          Defendants.   )
             ---------------------------x




                          DEPOSITION OF PHILIP MILLER

                                 WASHINGTON, D.C.

                                SEPTEMBER 28, 2016

                                    1:01 p.m.




            Reported by:
            Misty Klapper, CRR, RPR, CMR
            Job No. 46539




                                                                         1088
Case 2:85-cv-04544-DMG-AGR Document 462-12 Filed 07/19/18 Page 69 of 74 Page ID
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                                                                                               2
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      4                               PHILIP MILLER

      5                               SEPTEMBER 28, 2016

      6                               1:01 p.m.

      7

      8                 Deposition of Philip Miller,

      9           held at the Department of Justice,

     10           450 5th Street, N.W., Washington,

     11           D.C., pursuant to Notice, before

     12           Misty Klapper, RPR, CRR, CMR and

     13           Notary Public within and for the

     14           District of Columbia.

     15

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                                  DAVID FELDMAN WORLDWIDE, INC.
                      450 Seventh Avenue - Ste 500, New York, NY 10123 1.800.642.1099
                                                                                        1089
Case 2:85-cv-04544-DMG-AGR Document 462-12 Filed 07/19/18 Page 70 of 74 Page ID
                                  #:21970
                                                                                               3
      1

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                       Los Angeles, California 90057
      5                (213) 388-8693
                       BY: Peter A. Schey, Esq. (via telephone)
      6                     pschey@centerforhumanrights.org

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                       District Court Section
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                       Ben Franklin Station
     10                Washington, D.C. 20044
                       (202) 307-4693
     11                BY: William Silvis, Esq.
                            william.silvis@usdoj.gov
     12

     13     ALSO PRESENT:

     14                    Tom Zimmerman

     15                    Wendy Wallace

     16

     17

     18

     19

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                                  DAVID FELDMAN WORLDWIDE, INC.
                      450 Seventh Avenue - Ste 500, New York, NY 10123 1.800.642.1099
                                                                                        1090
Case 2:85-cv-04544-DMG-AGR Document 462-12 Filed 07/19/18 Page 71 of 74 Page ID
                                  #:21971
                                                                                                19
      1                     PHILIP MILLER

      2     understanding of what in 236(a) permits

      3     their release?

      4                 MR. SILVIS:          Object, asked

      5           and answered.

      6                 THE WITNESS:           When someone is

      7           put in Section 240 proceedings,

      8           it's part of our responsibility to

      9           set -- set custody conditions.                    If

     10           we don't have the capacity for the

     11           person to be detained, then we

     12           make a determination on what their

     13           conditions of release will be.

     14                      BY MR. SCHEY:

     15           Q.    And do you understand why in

     16     2014 the decision was made to start

     17     detaining mothers and children?

     18                 MR. SILVIS:          Object to the

     19           form.

     20                 THE WITNESS:           In response to

     21           the surge on the southern border,

     22           we were asked to increase our

     23           capacity so as to, you know,

     24           re-establish a secure border.

     25                      BY MR. SCHEY:


                                   DAVID FELDMAN WORLDWIDE, INC.
                       450 Seventh Avenue - Ste 500, New York, NY 10123 1.800.642.1099
                                                                                         1091
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                                  #:21972
                                                                                               177
      1

      2    STATE OF ______________ )

      3                                     )    :ss

      4    COUNTY OF ______________)

      5

      6

      7                I, PHILIP MILLER, the

      8    witness herein, having read the foregoing

      9    testimony of the pages of this deposition,

     10    do hereby certify it to be a true and

     11    correct transcript, subject to the

     12    corrections, if any, shown on the attached

     13    page.

     14

     15                            _________________________

     16                                    PHILIP MILLER

     17

     18

     19

     20    Sworn and subscribed to before

     21    me, this                    day of

     22                                    , 2016.

     23

     24    _______________________________

     25               Notary Public


                                  DAVID FELDMAN WORLDWIDE, INC.
                      450 Seventh Avenue - Ste 500, New York, NY 10123 1.800.642.1099
                                                                                        1092
Case 2:85-cv-04544-DMG-AGR Document 462-12 Filed 07/19/18 Page 73 of 74 Page ID
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    Case 2:85-cv-04544-DMG-AGR Document 462-12 Filed 07/19/18 Page 74 of 74 Page ID
                                      #:21974

                                        CERTIFICATE OF SERVICE
1
              I, Peter Schey, declare and say as follows:
2

3             I am over the age of eighteen years of age and am a party to this action. I am
4
        employed in the County of Los Angeles, State of California. My business address is
5
        256 S. Occidental Blvd., Los Angeles, CA 90057, in said county and state.
6

7             On July 19, 2018, I electronically filed the following document(s):
8
           • [REDACTED] EXHIBITS IN SUPPORT OF PLAINTIFFS’ RESPONSE TO
9            DEFENDANTS’ THIRD JUVENILE COORDINATOR REPORTS VOLUME
10           12 OF 12 [FILED UNDER SEAL PURSUANT TO ORDER OF THE
             COURT DATED JULY 16, 2018]
11

12      with the United States District Court, Central District of California by using the
13
        CM/ECF system. Participants in the case who are registered CM/ECF users will be
14

15      served by the CM/ECF system.

16                                                   /s/Peter Schey
                                                     Attorney for Plaintiffs
17

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